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                              UNITED STATES DISTRICT COURT
 6
                                      EASTERN DISTRICT OF CALIFORNIA
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 8   ROBERT E. STYRE,                                       )   1:07-cv-01436-LJO-TAG HC
                                                            )
 9                              Petitioner,                 )
                                                            )   ORDER REQUIRING RESPONDENT TO FILE
10            v.                                            )   RESPONSE
                                                            )
11                                                          )   ORDER SETTING BRIEFING SCHEDULE
     DERRAL G. ADAMS,                                       )
12                                                          )   ORDER DIRECTING CLERK OF COURT TO
                                Respondent.                 )   SERVE DOCUMENTS
13                                                          )
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              Petitioner is a state prisoner proceeding by retained counsel with a petition for writ of
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     habeas corpus pursuant to 28 U.S.C. § 2254.
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              The Court has conducted a preliminary review of the Petition. Accordingly, pursuant to
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     Rule 4 of the Rules Governing Section 2254 Cases and Rule 16 of the Federal Rules of Civil
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     Procedure,1 the Court HEREBY ORDERS:
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              1.       Respondent SHALL FILE a RESPONSE. A Response can be made by filing one
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                       of the following:
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                       A.       AN ANSWER addressing the merits of the Petition and due within
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                                NINETY (90) days of the date of service of this order. Rule 4, Rules
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                                Governing Section 2254 Cases; Cluchette v. Rushen, 770 F.2d 1469,
24
                                1473-1474 (9th Cir. 1985) (court has discretion to fix time for filing an
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26            1
               The Federal Rules of Civil Procedure are “applicable to habeas corpus proceedings to the extent that the
     practice in such proceedings are not set forth in the statutes of the United States and has heretofore conformed to the
27   practice of civil actions.” Fed.R.Civ.P. 81(a)(2). Rule 11 also provides “the Federal Rules of Civil Procedure, to the
     extent that they are not inconsistent with these rules, may be applied, when appropriate, to the petitions filed under
28   these rules.” Rule 11, Rules Governing Section 2254 Cases.

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 1                              Answer.).
 2                              S        Respondent SHALL INCLUDE with the Answer any and all
 3                                       transcripts or other documents necessary for the resolution of the
 4                                       issues presented in the Petition. Rule 5 of the Rules Governing
 5                                       Section 2254 Cases.
 6                              S        Any argument by Respondent that Petitioner has procedurally
 7                                       defaulted a claim(s) SHALL BE MADE in an ANSWER that also
 8                                       addresses the merits of the claims asserted. This is to enable the
 9                                       Court to determine whether Petitioner meets an exception to
10                                       procedural default. See, Paradis v. Arave, 130 F.3d 385, 396 (9th
11                                       Cir. 1997) (Procedurally defaulted claims may be reviewed on the
12                                       merits to serve the ends of justice); Jones v. Delo, 56 F.3d 878 (8th
13                                       Cir. 1995) (the answer to the question that it is more likely than not
14                                       that no reasonable juror fairly considering all the evidence,
15                                       including the new evidence, would have found Petitioner guilty
16                                       beyond a reasonable doubt necessarily requires a review of the
17                                       merits).
18                              S        Petitioner’s TRAVERSE, if any, is due THIRTY (30) days from
19                                       the date Respondent’s Answer is filed with the Court.
20                     B.       A MOTION TO DISMISS due within SIXTY(60) days of the date of
21                              service of this order based on the following grounds:2
22                              i.       EXHAUSTION - 28 U.S.C. § 2254(b)(1). A Motion to Dismiss
23                                       for Petitioner’s failure to exhaust state court remedies SHALL
24
25            2
               Rule 4 of the Rules Governing Section 2254 Cases provides that upon the court’s determination that
     summary dismissal is inappropriate, the “judge shall order the respondent to file an answer or other pleading . . . or
26   to take such other action as the judge deems appropriate.” Rule 4, Rules Governing Section 2254 Cases (emphasis
     added); see, also, Advisory Committee Notes to Rule 4 and 5 of Rules Governing Section 2254 Cases (stating that a
27   dismissal may obviate the need for filing an answer on the substantive merits of the petition and that the Attorney
     General may file a Motion to Dismiss for failure to exhaust.); also, W hite v. Lewis, 874 F.2d 599, 60203 (9 th
28   Cir.1989) (providing that Motions to Dismiss pursuant to Rule 4 are proper in a federal habeas proceeding.)

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 1                           INCLUDE copies of all the Petitioner’s state court filings and
 2                           dispositive rulings so as to allow the Court to examine the
 3                           limitations issue. See, Ford v. Hubbard, 305 F.3d 875 (9th Cir.
 4                           2002); Kelly v. Small, 315 F.3d 1063 (9th Cir. 2003);
 5                   ii.     STATUTE OF LIMITATIONS - 28 U.S.C. § 2244(d)(1). A
 6                           Motion to Dismiss the Petition as filed beyond the one year
 7                           limitations period SHALL INCLUDE copies of all Petitioner’s
 8                           state court filings and dispositive rulings.
 9                   iii.    SECOND OR SUCCESSIVE Petitions - 28 U.S.C. § 2244(b). A
10                           Motion to Dismiss the Petition on the basis of § 2244(b) SHALL
11                           include a copy of the previously filed federal Petition and
12                           disposition thereof.
13   2.       OPPOSITIONS to Motions to Dismiss SHALL be served and filed within
14            EIGHTEEN (18) days, plus three days for mailing. All other Oppositions SHALL
15            be served and filed within EIGHT (8) days, plus three days for mailing. REPLIES
16            to Oppositions to Motions to Dismiss SHALL be served and filed within eight (8)
17            days, plus three days for mailing. Replies to Oppositions to all other Motions
18            SHALL be served and filed within eight (8) days, plus three days for mailing. If
19            no opposition is filed, all motions are deemed submitted at the expiration of the
20            opposition period.
21   3.       Unless already submitted, both Respondent and Petitioner SHALL COMPLETE
22            and RETURN to the Court along with the Response or Motion to Dismiss, a
23            Consent form indicating whether the party consents or declines to consent to the
24            jurisdiction of a the United States Magistrate Judge pursuant to Title 28 U.S.C.
25            § 636(c)(1).
26   4.       RESPONDENT SHALL submit a Notice of Appearance as attorney of record
27            within SIXTY (60) days of the date of service of this order for purposes of service
28            of court orders. See, Local Rule 83-182(a), 5-135(c).

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 1          5.       The Clerk of the Court is DIRECTED to SERVE a copy of this order along with a
 2                   copy of the PETITION and any exhibits/attachments, on the Attorney General or
 3                   his representative.
 4          All motions shall be submitted on the record and briefs filed without oral argument unless
 5   otherwise ordered by the Court. Local Rule 78-230(h). All provisions of Local Rule 11-110 are
 6   applicable to this order.
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 8   IT IS SO ORDERED.
 9   Dated: November 29, 2007                                  /s/ Theresa A. Goldner
     j6eb3d                                              UNITED STATES MAGISTRATE JUDGE
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